                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION
                                     7:23-CV-897


INRE:                                                 )
                                                      )
CAMP LEJEUNE WATER LITIGATION                         )   TRACK 2 DISCOVERY PLAN ORDER
                                                      )   (CASE MANAGEMENT ORDER NO. 9)
This Document Relates to:                             )
ALL CASES                                             )



          Pursuant to this court's inherent powers, the Federal Rules of Civil Procedure 1,

16(c)(2)(L), 42(a)(3), and Case Management Order No. 2 ("CMO 2") [D.E. 23], the court hereby

enters the Track 2 Discovery Plan Order (Case Management Order No. 9). See Fed. R. Civ. P. 1,

16(c)(2)(L), 42(a)(3). Pursuant to CMO 2 [D.E. 23] XI.B.~ the parties submitted competing

proposals for consolidated Track 2 discovery. See [D.E. 56]; [D.E. 58]. The court has considered

the parties' submissions and supporting documentation.

          The court recognizes the efficiency gained from a "track" discovery approach in this

litigation:

          Staging discovery and trials by ''tracks" of illnesses is the most efficient way to
          advance the [Camp Lejeune Justice Act ("CLJA")] litigation and support a global
          resolution of CLJA claims. The staging approach in this Order comports with the
          Federal Rules of Civil Procedure and this Court's inherent powers. See, e.g., Link,
          370 U.S. at 630-31; Fed. R. Civ. P. l, 16(c)(2)(L), 42(a)(3). The staging approach
          also recog11-izes that this Court has four United States District Judges and a heavy
          docket of CLJA and non-CLJA actions.

[D.E. 23] Xl. 1

          The Discovery Pool for Track 2 shall include Plaintiffs alleging: (I) prostate cancer; (2)

kidney disease; (3) lung cancer; (4) liver cancer; or (5) breast cancer ("Track 2 Illnesses"). This


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    The parties are currently proceeding with consolidated Track l discovery. [D.E. 130].




        Case 7:23-cv-00897-RJ Document 144 Filed 02/26/24 Page 1 of 2
selection does not assess the merits of these or other CLJA actions. Rather, the selection focuses

on illnesses for which early trials may help to promote early resolution for common illnesses. The

parties are ordered to submit, either jointly or separately, a proposed discovery plan for the Track

2 Illnesses within 10 days of this order.

       SO ORDERED. This2'.~y of February, 2024.



      ' ~ C 114,.s !-                                        z : ~ IJ~
        RICHARD E. MYERS II
       Chief United States District Judge                    United States District Judge


       ~-1./:~
       LOUISE W. FLANAGAN
       United States District Judge                          United States District Judge




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     Case 7:23-cv-00897-RJ Document 144 Filed 02/26/24 Page 2 of 2
